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             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                    (Filed: July 3, 2017)

* * * * * * * * * * * * * *                 *      UNPUBLISHED
Z.H., a minor, by her parents and natural   *
guardians, JEFF HOLMES and                  *
CHRISTAL HOLMES,                            *
                                            *      No. 16-123V
               Petitioners,                 *
v.                                          *      Chief Special Master Dorsey
                                            *
SECRETARY OF HEALTH                         *      Decision Based on Stipulation;
AND HUMAN SERVICES,                         *      Influenza (“flu”) Vaccine; Amplified
                                            *      Pain Syndrome (“APS”).
               Respondent.                  *
                                            *
* * * * * * * * * * * * * * *
Clifford J. Shoemaker, Shoemaker, Gentry & Knickelbein, Vienna, VA, for petitioners.
Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On January 27, 2016, Jeff and Christal Holmes (“petitioners”) filed a petition for
compensation in the National Childhood Vaccine Injury Program2 on behalf of their minor child,
Z.H. Petitioners alleged that Z.H. suffers from amplified pain syndrome (“APS”) as a result of
the influenza vaccination she received on February 1, 2013. Petition at ¶¶ 5, 14.

        On June 30, 2017, the parties filed a stipulation in which they stated that a decision
should be entered awarding compensation. Respondent denies that the influenza vaccination
either caused or significantly aggravated Z.H.’s alleged injuries.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note
(2012)(Federal Management and Promotion of Electronic Government Services). As provided
by Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine Act” or “the Act”). All citations in this decision
to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                  1
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       Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A.
The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulate that petitioners shall receive the following compensation:

       A lump sum in the amount of $110,000.00 in the form of a check payable to
petitioners, Jeff and Christal Holmes, as Guardians of the Estate of Z.H.

       This amount represents compensation for all damages that would be available under 42
U.S.C. §300aa-15(a). Stipulation at ¶8.

      The undersigned approves the requested amount for petitioners’ compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation. 3


       IT IS SO ORDERED.


                                             s/Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Chief Special Master




       3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint
filing of notice renouncing the right to seek review.
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